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    9
   10                        UNITED STATES DISTRICT COURT
   11                      CENTRAL DISTRICT OF CALIFORNIA
   12
   13
   14   EPICOR SOFTWARE                        Case No. 8:13-cv-00448-CJC-RNBx
        CORPORATION, a Delaware
   15   corporation,                           PLAINTIFF EPICOR SOFTWARE
                                               CORPORATION’S
   16                   Plaintiff,             MEMORANDUM OF POINTS
                                               AND AUTHORITIES IN
   17         v.                               OPPOSITION TO DEFENDANTS’
                                               MOTION TO STRIKE AND
   18   ALTERNATIVE TECHNOLOGY                 DISMISS CLAIMS PURSUANT TO
        SOLUTIONS, INC., a California          FRCP 12(b)(6)
   19   corporation; VIVIAN KEENA,
   20   DONNA BARNETT, EDWARD                   Hearing Date: April 6, 2015
        CLEARY, MARK STUVETRAA,
        ALLAN WARD, SASSAN                      Time:         1:30 p.m.
   21
        YAZDPOURI and DOES 1 through 10,        Courtroom:    9B
   22   inclusive,                              Honorable Cormac J. Carney
   23                   Defendants.
   24
   25
   26
   27
   28
                                                           EPICOR’S OPPOSITION TO MOTION
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    1    I.       INTRODUCTION
    2         Defendants do not and cannot contend that any cause of action pled in the
    3   Third Amended Complaint (“TAC”) fails to state a claim. Instead, Defendants
    4   strain to manufacture an argument that the California Uniform Trade Secrets Act
    5   (“CUTSA”), Cal. Civ. Code §§ 3426, et seq., supersedes most of the TAC’s state
    6   law claims.1
    7         Under Defendants’ own authorities, the preemption inquiry focuses on
    8   whether the Challenged Claims are “not more than a restatement” of the CUTSA
    9   claim: if there is “no material distinction” between the CUTSA claim and the other
   10   claims, those claims are preempted. See SunPower Corp. v. SolarCity, Corp., No.
   11   12-CV-00694-LHK, 2012 WL 6160472, at *3 (N.D. Cal. Dec. 11, 2012). Here, the
   12   trade secrets claim places at issue Defendants’ misappropriation of customer lists,
   13   pricing information, and business methodologies and strategies. In contrast, the
   14   Challenged Claims are not based on those takings. Instead, the Challenged Claims
   15   have different gravamen, and place at issue different operative facts and conduct
   16   than the trade secrets claim. For example, Defendants’ interference with license
   17   agreements controlling the permissible uses of Epicor software and Epicor support
   18   websites, and Alternative’s false advertising and wrongful use of Epicor trademarks,
   19   are facts not placed at issue by the trade secrets claim and are not superseded by
   20   CUTSA.
   21         Defendants, thus, resort to repeatedly mischaracterizing the allegations of the
   22   Challenged Claims to insist that they and the trade secrets claim put the same
   23   conduct at issue. But a straight-forward reading of the these claims demonstrates
   24
              1
                Specifically, Defendants challenge the Second Claim For Relief for
   25   Intentional Interference With Contract; the Fifth Claim for Relief For California
        Common Law Trademark Infringement; the Seventh Claim for Relief for Violation
   26   of Section 17500 of the Business and Professions Code (False Advertising); the
        Tenth Claim for Relief for Trespass To Chattels; the Twelfth Claim for Relief For
   27   Unlawful and Fraudulent Business Practices In Violation of Section 17200 of the
        Business and Professions Code; and the Thirteenth Claim for Relief for Unjust
   28   Enrichment/Restitution (collectively, the “Challenged Claims”).
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    1   the fallacy of Defendants’ argument.
    2         Defendants also advance a superficial and hyper-technical pleading argument:
    3   that because the Challenged Claims and the trade secrets claim each incorporate by
    4   reference the TAC’s general allegations, which contain the operative facts
    5   supporting all of the causes of action alleged by the TAC, including the new
    6   allegations supporting the recently added trade secrets claim, then the Challenged
    7   Claims must be nothing more than restatements of the trade secret claim.
    8         Defendants’ hyper-technical argument fails. First, as a threshold matter,
    9   none of the Challenged Claims incorporates the trade secrets claim itself, making
   10   clear that they are not based on that claim. Indeed, each of the Challenged Claims
   11   and their supporting facts were pled in the Second Amended Complaint. The
   12   Challenged Claims did not become trade secret claims when the trade secrets claim
   13   and its supporting allegation were added by way of the Third Amended Complaint.
   14         Second, case law considering similar incorporation by reference arguments
   15   holds that separate claims are stated notwithstanding the incorporation by reference
   16   of trade secret allegations. See Banks.com, Inc. v. Keery, No. C 09-06039 WHA,
   17   2010 WL 727973, at *3 (N.D. Cal. March 1, 2010); see also, Kovesdy v. Kovesdy,
   18   No. C 10-02012 SBA, 2010 WL 3619826, at *3 (N.D. Cal. Sept. 13, 2010). At
   19   worst, only the trade secret allegations (and not any causes of action), are
   20   preempted by CUTSA:
   21                The allegations that are incorporated by reference and
   22                relate to [defendants’] alleged wrongful use of
                     confidential, proprietary, and trade-secret information are
   23                preempted by plaintiff’s CUTSA claim. The allegations
                     that are incorporated by reference and do not relate to
   24                [defendants’] alleged wrongful use of confidential,
                     proprietary, and trade-secret information are not
   25                preempted by plaintiff’s CUTSA claim.
   26   Banks.com, 2010 WL 727973, at *3.
   27         Finally, even Defendants’ primary authority on the issue, SunPower, 2012
   28   WL 6160472, did not dismiss claims with prejudice, but instead gave the plaintiff
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    1   the opportunity to address the issue by amendment. Even if the Court were to
    2   accept Defendants’ hyper-technical argument—and it should not—at the very least,
    3   Epicor should be given leave to amend. Not to do so would impermissibly elevate
    4   form over substance and violate the general policy that claims be resolved on their
    5   merits rather than on pleading technicalities. See Foman v. Davis, 371 U.S. 178,
    6   181-82 (1962).
    7    II.   BACKGROUND
    8          Epicor filed its initial complaint on March 18, 2013, alleging nine causes of
    9   action. Dkt. No. 1. In April 2013, Alternative moved to dismiss seven of the nine
   10   claims, including Epicor’s claims for unfair and fraudulent business practices and
   11   unjust enrichment/restitution. See Dkt. No. 20. Concurrently, Alternative filed an
   12   answer as to the remaining claims and asserted various counterclaims. Dkt. No. 19.
   13   In May 2013, the Court issued an order denying in substantial part Alternative’s
   14   motion to dismiss the initial complaint. Dkt. No. 50. The Court ruled, inter alia,
   15   that Epicor stated a claim for unfair and fraudulent business practices and unjust
   16   enrichment/restitution. Id. at 8-9.
   17          Epicor then filed a First Amended Complaint (FAC) on May 29, 2013. Dkt.
   18   No. 64. The FAC alleged causes of action for copyright infringement, intentional
   19   interference with contract, federal trademark infringement, California common law
   20   trademark infringement, false advertising in violation the Lanham Act, false
   21   advertising in violation of California Business & Professions Code section 17500,
   22   unlawful and fraudulent business practices in violation of California Business &
   23   Professions Code section 17200, and unjust enrichment/restitution. Id. Alternative
   24   filed an answer to the FAC on June 13, 2013. Dkt. No 70.
   25          On June 26, 2014, this Court granted Epicor’s motion for leave to file a
   26   Second Amended Complaint (SAC). Dkt. No. 144. The SAC itself was filed on
   27   June 27, 2014. Dkt. No. 145. The SAC joined four officers and employees of
   28   Alternative as defendants. The SAC added claims for violations of the Computer
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    1   Fraud and Abuse Act, 18 U.S.C. § 1030(a), violation of California Penal Code
    2   section 502(c), trespass to chattels, and breach of contract. Dkt. No. 144 at 2. The
    3   SAC’s added claims alleged that individual defendants (i) used unauthorized log-in
    4   credentials to access Epicor’s online support portal and database to access Epicor’s
    5   software and technical literature, (ii) used an unauthorized copy of the software for
    6   training and development purposes, and (iii) breached confidentiality agreements
    7   that the individual defendants signed in connection with their prior employment
    8   with Epicor. Id. at 2-3; see also SAC ¶¶ 188-233.
    9         Alternative then moved for a more definite statement, Dkt. No. 158, and the
   10   Individual Defendants moved to dismiss the tenth cause of action for breach of
   11   contract. See Dkt. No. 160. On September 24, 2014, the Court denied each of
   12   these motions. Dkt. No. 168. Alternative and the Individual Defendants each
   13   answered the SAC on October 10, 2014. See Dkt. Nos. 169 and 171.
   14         On December 29, 2014, Epicor moved for leave to file the operative Third
   15   Amended Complaint (TAC). On January 22, 2015, the court granted Epicor leave
   16   to file the TAC. The TAC was filed on the same day.
   17         The TAC primarily asserts a new cause of action for misappropriation of
   18   trade secrets, amends its cause of action for breach of contract to place at issue
   19   breaches of the non-disclosure agreements, and adds Ward and Yazdpouri as
   20   defendants to these claims. The trade secrets claim, set forth as the Third Claim for
   21   Relief in the TAC, (TAC, ¶¶ 179-187), alleges that Alternative, with the complicity
   22   of Keena, Barnett, Ward, and Yazdpouri, misappropriated three categories of
   23   Epicor trade secrets: (i) Epicor’s Master Customer List, (ii) Epicor’s confidential
   24   Business Strategies and Methodologies, and (iii) Epicor’s confidential Pricing
   25   Information. See, TAC¶¶ 179-187, 54-62. Specifically, among other things, the
   26   TAC alleges:
   27              In or around June 2009, just days before Barnett left Epicor to start
   28               Alternative with Keena, Barnett used her personal email address to
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 1                 send Keena an Epicor customer list along with a collection of various
                   internal Epicor white papers. See TAC, ¶ 54.
 2
                 In or around August 2010, prior to leaving Epicor to start working for
 3                Alternative, Ward used his Epicor email to send a copy of Epicor’s
 4                confidential Pricing Information to his personal email address. Ward
                  then forwarded the Epicor confidential Pricing Information to both
 5                Keena and Barnett for their and Alternative’s use. See TAC, ¶¶ 55-56.
 6               In or around May 2011, Ward sent Keena and another Alternative
                  employee a zip file containing a collection of over 150 documents with
 7                Epicor’s confidential Business Strategies and Methodologies. Ward
 8                asked for an Alternative employee to go through all the materials and
                  “scrub” them—repurpose them for Alternative’s use—by moving the
 9                Epicor confidential content to Alternative’s own letterhead and
                  templates. Ward expressed that these documents could be used as a
10                basis for Alternative to build upon. See TAC, ¶¶ 57-58.
11               Keena then forwarded the 150-plus collection of documents to an
12                outside consultant, Olin Barnett, to have the documents updated with
                  Alternative’s look and feel in preparation for posting on Alternative’s
13                internal sharepoint site, where the documents containing Epicor’s
                  confidential Business Strategies and Methodologies could be used by
14                Alternative’s consultants. See TAC, ¶ 59.
15               Again in or around May 2011, Ward sent documents containing
16                Epicor’s confidential Business Strategies and Methodologies to Keena
                  and other Alternative employees, and stated that the Epicor documents
17                needed to be scrubbed. See TAC, ¶ 60.
18               In or around February 2012, Yazdpouri sent Keena Epicor’s Master
                  Customer List. Keena immediately forwarded the Master Customer
19                List on to Ward (VP of Worldwide Services) and then separately to an
20                Alternative Customer Account Manager with an email stating “Are
                  you sitting down?” See TAC, ¶¶ 61-62.
21
      III.   LEGAL STANDARD
22
             Although Defendants style their motion as “a motion to strike and dismiss
23
     claims,” Defendants do not move to strike any allegations from the TAC. See Dkt.
24
     No. 207. Instead, they move solely to dismiss the Challenged Claims under Federal
25
     Rule of Civil Procedure 12(b)(6).
26
             A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of the
27
     claims asserted in the complaint. In considering whether to dismiss a case for
28
                                                               EPICOR’S OPPOSITION TO MOTION
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 1   failure to state a claim, the issue before the court is not whether the claimant “will
 2   ultimately prevail but whether the claimant is entitled to offer evidence to support
 3   the claims” asserted. Gilligan v. Jamco Dev. Corp., 108 F.3d 246, 249 (9th Cir.
 4   1997). When evaluating a Rule 12(b)(6) motion, the district court must accept all
 5   material allegations in the complaint as true and construe them in the light most
 6   favorable to the non-moving party. Moyo v. Gomez, 32 F.3d 1382, 1384 (9th Cir.
 7   1994). The Court must also draw all reasonable inferences in favor of the non-
 8   moving party. Catholic League for Religious and Civil Rights v. City and Cnty of
 9   S.F., 567 F.3d 595, 599 (9th Cir. 2009); 2 Schwarzer, Tashima & Wagstaffe,
10   Federal Civil Procedure Before Trial § 9:213. “Rule 12(b)(6) is [also] read in
11   conjunction with Rule 8(a), which requires only a short and plain statement of the
12   claim showing that the pleader is entitled to relief.” Epicor Software Corp. v.
13   Alternative Tech. Solutions, Inc., No. SACV 13-00448-CJC(RNBx), 2013 WL
14   2382262, at *2 (C.D. Cal. May 9, 2013) (J. Carney) (citing Fed. R. Civ. P. 8(a)(2)).
15         In ruling on the motion, “[r]eview is limited to the complaint” and “a district
16   court may not consider any material beyond the pleadings in ruling.” Lee v. City of
17   L.A., 250 F.3d 668, 688 (9th Cir. 2001) (alteration in original); see also, 2
18   Schwarzer, Tashima & Wagstaffe, supra, § 9:211 (a court “cannot consider
19   material outside the complaint (e.g., facts presented in briefs, affidavits or discovery
20   materials)”); see, e.g., Garber v. Heilman, No. CV 08-3585-DDP (RNB), 2009 WL
21   409957, at *8 (C.D. Cal. Feb. 18, 2009) (declining to take judicial notice of
22   discovery responses on a motion to dismiss, in part because they were irrelevant to
23   the sufficiency of the stated claims).
24         Dismissal of a complaint for failure to state a claim is not proper where a
25   plaintiff has alleged “enough facts to state a claim to relief that is plausible on its
26   face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). This is not a
27   high bar. A “complaint attacked by a Rule 12(b)(6) motion to dismiss does not
28   need detailed factual allegations.” Id. at 555. “All that matters at this stage is that
                                                                 EPICOR’S OPPOSITION TO MOTION
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 1   the allegations nudge this inference ‘across the line from conceivable to plausible.’”
 2   OSU Student Alliance v. Ray, 699 F.3d 1053, 1078 (9th Cir. 2012) (quoting
 3   Ashcroft v. Iqbal, 556 U.S. 662, 680 (2009)).
 4     IV.    ARGUMENT
 5             A.     SUPERSESSION OF CLAIMS UNDER CUTSA
 6                  1.     Section 3426.7 Controls Supersession.
 7           CUTSA contains a clause, Cal. Civ. Code § 3426.7, which, although
 8   ironically referred to as a “savings clause,” preempts claims based on the same
 9   nucleus of facts as trade secret misappropriation. See Sunpower, 2012 WL
10   6160472, at *3. Section 3426.7 provides in pertinent part:
11                  (a) Except as otherwise expressly provided, this title does
                    not supersede any statute relating to misappropriation of a
12                  trade secret, or any statute otherwise regulating trade
                    secrets.
13
                 (b) This title does not affect (1) contractual remedies,
14               whether or not based on misappropriation of a trade
                 secret, (2) other civil remedies that are not based upon
15               misappropriation of a trade secret, or (3) criminal
                 remedies, whether or not based upon misappropriation of
16               trade secret.
17   Cal. Civ. Code § 3426.7 (emphasis added).
18                2.     CUTSA Supersedes Claims That Are Not Materially
                         Different From Trade Secret Claims.
19
             California Civil Code § 3426.7 “preempt[s] claims based on the same
20
     nucleus of facts as trade secret misappropriation.” Sunpower, 2012 WL 6160472,
21
     at *3 (quoting K.C. Multimedia, Inc. v. Bank of America Tech. & Operations, Inc.,
22
     171 Cal. App. 4th 939, 962 (2009)); see also, Robert Half Int’l, Inc. v. Ainsworth,
23
     No. 14-CV-2481-WQH (DHB), 2014 WL 7272405, at *8 (S.D. Cal. Dec. 17, 2014)
24
     (CUTSA displaces claims which are “either based upon the misappropriation of a
25
     trade secret . . . or they are based upon no legally significant events” (internal
26
     quotation marks omitted)). Section 3426.7 supersession extends to all claims, the
27
     basis of which is misappropriation of information that was not generally known to
28
                                                                EPICOR’S OPPOSITION TO MOTION
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 1   the public. See Sunpower, 2012 WL 6160472, at *3 (“If the basis of the alleged
 2   property right is in essence that the information . . . is not . . . generally known to
 3   the public . . . then the claim is sufficiently close to a trade secret claim that it
 4   should be superseded” (internal quotation marks and citations omitted)); see also,
 5   Dkt. No. 159 (Defs. Memo. Pts. & Auths. ISO Mtn. for More Definite Statement),
 6   at 5:1-5 (arguing same).
 7          The preemption inquiry:
 8                 focuses on whether other claims are not more than a
                   restatement of the same operative facts supporting trade
 9                 secret misappropriation . . . If there is no material
                   distinction between the wrongdoing alleged in a
10                 [C]UTSA claim and that alleged in a different claim, the
                   [C]UTSA claim preempts the other claim.
11
     Sunpower, 2012 WL 6160472, at *3 (emphasis added). “In other words, common
12
     law tort claims are displaced by the CUTSA where they ‘do not genuinely allege
13
     ‘alternative legal theories’ but are a transparent attempt to evade the strictures of
14
     CUTSA by restating a trade secrets claim as something else.’” Robert Half, 2014
15
     WL 7272405, at *8.
16
                   3.      CUTSA Does Not Supersede Claims Going Beyond Trade
17                         Secret Misappropriation.
18          Claims are not superseded if they allege facts that go “beyond trade secret
19   misappropriation.” Titan Global LLC v. Organo Gold Int’l., Inc., No. 12-CV-2104-
20   LHK, 2012 WL 6019285, at *10 (N.D. Cal. Dec. 2, 2012); see, e.g., Cole Asia Bus.
21   Ctr., Inc. v. Manning, No. CV 12-00956 DDP (CWx), 2013 WL 3070913, *6 (C.D.
22   Cal. June 18, 2013) (finding claims not preempted by CUTSA; “Counterclaimants
23   do make allegations against all Counterdefendants going beyond their trade secret
24   claims”). CUTSA “does not displace noncontract claims that, although related to a
25   trade secret misappropriation, are independent and based on facts distinct from the
26   facts that support the misappropriation claim.” Angelica Textile Servs., Inc., v.
27   Park, 220 Cal. App. 4th 495, 506 (2013) (reversing dismissal of non-CUTSA
28   claims); see also, MedioStream, Inc. v. Microsoft Corp., 869 F. Supp. 2d 1095,
                                                                  EPICOR’S OPPOSITION TO MOTION
                                                                           TO STRIKE AND DISMISS
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 1   1115 (N.D. Cal. 2012) (“Preemption is not triggered where the facts underlying an
 2   independent claim are ‘similar to, but distinct from, those underlying the
 3   misappropriation claim.’)
 4         CUTSA does not supersede and entire claim that is based on both
 5   misappropriation of trade secrets and other conduct. See, e.g., Phoenix Techs. Ltd
 6   v. DeviceVM, No. C 09-04697 CW, 2009 WL 4723400, at *5 (N.D. Cal. Dec. 8,
 7   2009) (denying motion to dismiss UCL claim where most, but not all of claim, was
 8   based on misappropriation of trade secrets and construing claim to be “based on
 9   those facts that are not part of the nexus that forms the basis for their CUTSA
10   claim”); Wang v. Palo Alto Networks, Inc., No. C 12-05579 WHA, 2013 WL
11   1410346, at * 11 (N.D. Cal. Jan. 31, 2013) (“After removing the ‘trade-secret’ facts,
12   the remaining facts alleged are reassembled to determine whether they can
13   independently support other causes of action . . . .”); see also, Cellular Accessories
14   for Less, Inc. v. Trinitas LLC, No. CV 12-06736 DDF (SHx), 2014 WL 4627090, at
15   *6 (C.D. Cal. Sept. 16, 2014) (“[E]ach of these tort claims is preempted . . . to the
16   extent that it relies on the nucleus of facts of the trade secrets claim. However,
17   because each is also based on some alternative set of facts as well, each claim
18   survives preemption in part.”).
19         In such instances, “the Court’s obligation on a Rule 12(b)(6) motion [is] to
20   construe the allegations in a light most favorable to Plaintiff,” which requires that
21   “the Court will construe Plaintiff’s claims as being based on conduct not governed
22   by [C]UTSA.” Kovesdy, 2010 WL 3619826, at *3 (citing Phoenix Techs., 2009
23   WL 4723400, at *5 (“Although most of the allegations in the FAC supporting
24   Plaintiff’s UCL and tort claims concern Defendants’ misuse of information that
25   appears to fall with the definition of a ‘trade secret’ under CUTSA, the Court will
26   construe those claims as based on those facts that are not part of the nexus that
27   forms the basis for their CUTSA claim.”)).2
           2
28           In the same instance, some courts that do not take the Rule 12(b)(6)
     obligation into account, hold a cause of action to be preempted only to the extent
                                                               EPICOR’S OPPOSITION TO MOTION
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 1          In assessing whether CUTSA preempts a claim, courts focus “on the actual
 2   gravamen” or “gist” of the claim. See, e.g., Rovince Int’l Corp. v. Preston, No. CV
 3   13-3527 CAS (PJWx), 2013 WL 5539430, at *3 (C.D. Cal. Oct. 7, 2013) (common
 4   law claims preempted if “the gravamen of the contested claims is that [the
 5   defendant] misappropriated trade secrets”); Phoenix Techs., 2009 WL 4723400, at
 6   *4-5 (court should conduct a factual analysis of whether gravamen of each claim
 7   rested on misappropriation of trade secrets; CUTSA “allow[s] claims to go forward
 8   where the gravamen of the claims does not rest on the misappropriation of trade
 9   secrets”); Silvaco Data Systems v. Intel Corp., 184 Cal. App. 4th 210, 241-42
10   (2010) (CUTSA did not preempt UCL claim, the “gist” of which “does not depend
11   on the existence of a trade secret”), disapproved on other grounds by Kwikset Corp.
12   v. Superior Court, 51 Cal. 4th 310 (2011); K.C. Multimedia, 171 Cal. App. 4th at
13   959 (court must focus “on the actual gravamen” of the claim in ruling on CUTSA
14   supersession).
15             B.     DEFENDANTS’ INCORPORATION BY REFERENCE
16                    ARGUMENT FAILS
17          Defendants devote the bulk of their motion to arguing that because each of
18   the Challenged Claims incorporate the general allegations of the complaint, and
19   those allegations include the facts supporting the trade secrets claim, the
20   Challenged Claims must be dismissed. See Mtn. at 2, 5, 12, 14 and 17-20.
21          As a threshold matter, Defendants’ incorporation argument is fundamentally
22   misleading. See Banks.com, 2010 WL 727973, at *3 (argument that trade secret
23   allegations incorporated by reference in other claims triggered CUTSA preemption
24
25   (continued…)

26   that it is based on a trade secret. See, e.g., Banks.com, 2010 WL 727973, at *3-4
     (interference claim preempted to extent it was based on misappropriation of trade
27   secrets but not preempted to extent it was based on other facts). Critically, neither
     line of cases dismisses a cause of action in its entirety because it was partly based
28   on misappropriation of trade secrets.
                                                               EPICOR’S OPPOSITION TO MOTION
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 1   was “misleading” where plaintiff only highlighted allegations referring to use of
 2   trade secret information and ignored other allegations). Defendants focus on the
 3   incorporation of general allegations but ignore that none of the Challenged Claims
 4   incorporates the trade secrets claim.3
 5         In any event, case law rejects the specific argument that Defendants make
 6   here: that CUTSA requires dismissal of a claim that incorporates by reference
 7   allegations of trade secret misappropriation. See id. (“The allegations that are
 8   incorporated by reference and relate to defendant[’s] [use of] trade-secret
 9   information are preempted [but t]he allegations that are incorporated by reference
10   and do not relate to defendant[’s] [use of] trade-secret information are not
11   preempted.”); see also Kovesdy, 2010 WL 3619826, at *3 (rejecting argument that
12   claim should be dismissed because it incorporated by reference preceding
13   allegations, including trade secret misappropriation; Rule 12(b)(6) required that the
14   claim be construed as being based on those allegations not relating to trade secrets).
15   This is consistent with cases holding that CUTSA does not supersede claims that
16   are based on the misappropriation of trade secrets and other conduct, i.e., claims
17   that plead facts that go beyond misappropriation of trade secrets. See, e.g.,
18   Angelica Textile Servs., 220 Cal. App. 4th at 115; Phoenix Techs., 2009 WL
19   4723400, at *5; see also, section IV.A.3, supra.
20         The cases differ in whether any portions of the claims were dismissed:
21   Kovesdy acknowledged the obligation on a Rule 12(b)(6) motion to construe
22   allegations in the light most favorable to Plaintiff, construed the claim as not being
23
           3
             Compare TAC ¶¶ 179-187 (setting forth third cause of action for
24   misappropriation of trade secrets), with id. ¶ 167 (not incorporating ¶¶ 179-187 into
     Second Claim for Relief for Intentional Interference with Epicor Software License
25   Agreements), id. ¶ 195 (not incorporating ¶¶ 179-187 into Fifth Claim for Relief for
     Common Law Trademark Infringement); id. ¶ 211 (not incorporating ¶¶ 179-187
26   into Seventh Claim for Relief for False Advertising), id. ¶245 (not incorporating ¶¶
     179-187 into Tenth Claim for Relief for Trespass to Chattels); id. ¶ 262 (not
27   incorporating ¶¶ 179-187 into Twelfth Claim for Relief For Unlawful and
     Fraudulent Business Practices); and, id. ¶ 272 (not incorporating ¶¶ 179-187 into
28   Thirteenth Claim for Relief for Unjust Enrichment/Restitution).
                                                               EPICOR’S OPPOSITION TO MOTION
                                                                        TO STRIKE AND DISMISS
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 1   based on conduct governed by CUTSA, and did not dismiss any part of the claims
 2   on the basis of CUTSA. Kovesdy, 2010 WL 3619826, at *4-5. The court noted that
 3   if, following discovery, plaintiff lacked evidence to support the claims based on
 4   conduct independent of the trade secrets claim, defendants could move for
 5   summary judgment. Id. at *3. The court in Banks.com held that only the
 6   allegations that were incorporated by reference into a challenged claim and related
 7   to the CUTSA claim, would be preempted by the CUTSA claim and dismissed
 8   (with leave to amend) with respect to those paragraphs only; other allegations
 9   incorporated into those claims were not preempted or dismissed. 2010 WL 727973,
10   at *3. Under either approach, the Court should not dismiss the entire claim.
11         Defendants overstate their primary authority on the incorporation by
12   reference issue, Sunpower, 2012 WL 6160472, in three critical respects. First,
13   although the court in Sunpower noted that some claims incorporated by reference
14   trade secret allegations, it did not stop its analysis there and rule that claims were
15   preempted on that basis; instead the court analyzed the substance of the individual
16   claims. Id. at *13-15. Second, in Sunpower, the superseded claims alleged the
17   “same wrongdoing” as the trade secrets claim and simply “stated in various ways”
18   allegations that defendants misappropriated trade secrets. Id. at 13. Third, the court
19   in Sunpower did not dismiss those claims with prejudice, but allowed plaintiff the
20   opportunity to amend. Id. at *16.
21            C.     CUTSA DOES NOT SUPERSEDE THE CHALLENGED
22                   CLAIMS BECAUSE THOSE CLAIMS ARE NOT
23                   RESTATEMENTS OF THE TRADE SECRETS CLAIM.
24                 1.     The Trade Secrets Claim Only Places At Issue
                          Misappropriation of Documents Containing Customer
25                        Lists, Pricing Information, and Business Methodologies and
                          Strategies.
26
27         The trade secrets claim places at issue Defendants’ misappropriation of
28   Customer Lists, Pricing Information, and Business Methodologies and Strategies.
                                                                EPICOR’S OPPOSITION TO MOTION
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 1   The trade secrets claim specifies that “the actions of Alternative, Keena, Barnett,
 2   Ward and Yazdpouri described in paragraphs 54 to 62 constitute misappropriation
 3   of Epicor’s trade secret Protected Information.” TAC ¶ 184; see also, id. at ¶50
 4   (defining “Protected Information” as Customer Lists, Pricing Information, and
 5   Business Methodologies and Strategies). In turn, paragraphs 54 to 62, constitute a
 6   dedicated section of the TAC entitled “Alternative’s Misappropriation of Epicor’s
 7   Protected Information,” and allege in factual detail that Defendants misappropriated
 8   documents containing customer lists, pricing information and business
 9   methodologies and strategies. Id. ¶¶ 54-62. By any reasonable reading of the
10   claim—and certainly the favorable interpretation required by Rule 12(b)(6)—these
11   allegations, together with paragraphs 46-53 (describing the trade secrets), constitute
12   a distinct nucleus of facts giving rise to the trade secrets claim.
13         In contrast, the Challenged Claims place at issue materially different conduct,
14   the gravamen of which is not the existence or misappropriation of a trade secret.
15   Indeed, each of the Challenged Claims was alleged in the SAC, see Dkt. No. 145,
16   before the trade secrets claim was added by way of the TAC. Despite Defendants
17   repeated and incorrect insinuations that the TAC added allegations to these claims,
18   (see Mtn. at 2, 5 and 13-14), the TAC did not substantively change any of the
19   express allegations of the Challenged Claims. See Dkt. No. 184-3 (redline of the
20   TAC against the SAC).
21                 2.     CUTSA Does Not Supersede The Second Claim For Relief
                          For Intentional Interference With Epicor’s License
22                        Agreements.
23         Epicor’s second claim for relief alleges that Defendants intentionally
24   interfered with its license agreements, which restricted the permissible uses of
25   Epicor’s property (its software) by its licensees. See TAC ¶¶ 167-178.4 It alleges
26         4
             See TAC, ¶169 (alleging that “[t]he Software License Agreements between
27   Epicor and Epicor customers specifically prohibit, inter alia: (i) the use of Epicor’s
     ERP software for purposes other than the Epicor customers’ internal business
28   purposes; (ii) the use of Epicor’s ERP software to provide time sharing services or
     operate a services bureau for third parties; (iii) disclosing the software or
                                                                 EPICOR’S OPPOSITION TO MOTION
                                                                          TO STRIKE AND DISMISS
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 1   that Defendants induced some licensees to breach the terms of their licenses by,
 2   inter alia, permitting Alternative to access, review, alter, maintain, enhance or
 3   modify the software. Id., ¶¶ 169-171. The gravamen of the claim is the
 4   inducement of the breach of these contractual obligations.
 5          This is not a restatement of the trade secrets claim’s nucleus of allegations
 6   that Defendants misappropriated documents containing customer lists, pricing lists
 7   or business methodologies. Id. ¶¶ 54-62, 184. Defendants’ assertion that the
 8   allegation that “Epicor entered into contracts with its customers that govern their
 9   rights to use Epicor software and information” is “at the root of Epicor’s CUTSA
10   claim,” (see Mtn. 16:24-27), is a mischaracterization, and does not survive
11   comparison with the allegations of the trade secrets/CUTSA claim. Indeed, the
12   trade secrets claim does not place the software or the EULAs at issue; rather, the
13   trade secrets claim makes no mention of the software or EULAs. TAC ¶¶ 179-187.
14   Furthermore, the Interference Claim does not depend on the existence of those trade
15   secrets or otherwise place the customer list, price list or business methodologies at
16   issue. See TAC ¶¶ 167-178.
17          Since the Interference Claims is not a restatement of the trade secrets claim
18   but instead depends upon materially different operative facts and has a different
19   gravamen than the trade secret claim, CUTSA does not supersede it. See, e.g.,
20   SunPower, 2012 WL 6160472, *3; see also, Rovince, 2013 WL 5539430, at *3;
21   Phoenix Techs., 2009 WL 4723400, at *4-5; Silvaco, 184 Cal. App. 4th at 241-42;
22   K.C. Multimedia, 171 Cal. App. 4th at 959. Indeed, interference with contract
23   claims are not preempted by CUTSA, notwithstanding that a lawsuit may also place
24   at issue misappropriation of trade secrets. See, Titan Global, 2012 WL 6019285, at
25
     (continued…)
26
     documentation to an Epicor competitor without Epicor’s prior written approval; and
27   (iv) reverse engineering, modifying, decrypting, extracting, dissembling, copying or
     decompiling Epicor’s ERP software, except as required by applicable local law or
28   to reproduce machine-readable object code portions for backup purposes.”)
                                                               EPICOR’S OPPOSITION TO MOTION
                                                                        TO STRIKE AND DISMISS
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 1   *10; Phoenix Techs, 2009 WL 4723400, at *5; Rovince, 2013 WL 5539430, at *5
 2   (inducing breach of contract claim not preempted where plaintiff would not have to
 3   show that a trade secret was misappropriated in order to prevail).
 4         Defendants primarily argue that the Interference Claim fails because it
 5   incorporates the same allegations as the trade secrets claim. Mtn. at 15:3-16:24. As
 6   explained in section IV.B, above, Defendants’ hyper-technical argument is wrong.
 7   See Section IV.B, supra; see also, Banks.com, 2010 WL 727973, at *3; Kovesdy,
 8   2010 WL 3619826, at *3.
 9         Defendants also attempt to raise Epicor’s interrogatory responses in support
10   of its preemption argument. Mtn. at 17:9-13. This argument fails for at least three
11   reasons. First, the Court cannot consider extrinsic material, such as interrogatory
12   responses, on a Rule 12(b)(6) motion. See, e.g., Butler v. Los Angeles Cnty, 617 F.
13   Supp. 2d 994, 999 (C.D. Cal. 2008); see also, 2 Schwarzer, Tashima & Wagstaffe,
14   supra § 9:211; Epicor’s Opp. to Req. for Jud. Not. (concurrently filed herewith).
15   Second, those responses indicate that the gravamen of the Interference Claim is
16   interference with the license agreements governing use of Epicor’s software and
17   websites. Third, courts have rejected attempts to assert CUTSA preemption even
18   where an interrogatory response indicated that the cause of action was based on
19   misappropriation of trade secrets. Angelica Textile Services, 220 Cal. App. 4th at
20   507, n 4.5
21
           5
              Defendants argue that Epicor “intend[ed] to allege a misappropriation of
22   trade secret claim as its Second Claim” because an erroneous reference to Section
     3624 was made in the caption of the claim. Mtn. at 15:25-26, n 4. Defendants
23   unsuccessfully made a similar argument on prior motions to dismiss. The reference
     to section 3426 is an artifact from the original complaint. Dkt. No. 1. Defendants
24   unsuccessfully moved to dismiss that claim, arguing that the reference conflated an
     interference claim with a trade secrets claim. Dkt. No. 20, at 11. Epicor made clear
25   in its opposition that “[w]hile Epicor inadvertently referenced Civil Code §§ 3426,
     et seq. in the caption for the Second claim in the Complaint, it does not bring its
26   intentional interference with contract claim under the CUTSA.” Dkt. No. 30, p. 17
     n 10. The Court denied Defendants’ motion. Dkt. No. 50. In any event, a motion
27   to dismiss is based on the substance of the allegations, not labels, and the
     substantive allegations of the Interference Claim do not allege a misappropriation of
28   trade secrets.
                                                              EPICOR’S OPPOSITION TO MOTION
                                                                       TO STRIKE AND DISMISS
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 1                 3.     CUTSA Does Not Supersede The Fifth Claim for Common
                          Law Trademark Infringement.
 2
 3         Epicor’s fifth claim for relief alleges common law trademark infringement.

 4   TAC, ¶¶195-201. As the general allegations make clear, the claim is based upon

 5   the use of Epicor’s marks and logo in Alternative’s website and promotional

 6   materials. See id., ¶¶ 118-128 (section entitled “Alternative’s Unauthorized Use of

 7   Epicor’ Trademarks and False Advertising”). The claim is not based on the

 8   existence of a trade secret nor is it a restatement of the trade secrets claim. The

 9   infringement allegations are factually distinct from the trade secrets claim’s nucleus

10   of allegations that Defendants misappropriated customer lists, price lists, and

11   business methodologies and strategies. Cf. id., ¶¶ 54-62, 184. Accordingly, the

12   trademark infringement claim is not superseded by the trade secrets claim. See e.g.,

13   SunPower, 2012 WL 6160472, *3; MedioStream, 869 F. Supp. 2d at 1115.

14         Defendants again rely on the argument that the claim is preempted because it

15   incorporates by reference the same paragraphs that the trade secrets claim

16   incorporated by reference. Mtn. at 17:19-22. As explained above, the

17   incorporation by reference argument fails. See section, IV.B, supra; see also,

18   Banks.com, 2010 WL 727973, at *3-4; Kovesdy, 2010 WL 3619826, at *3.

19   Defendants tellingly omit mention that that the trademark claim does not

20   incorporate the trade secrets claim itself. Compare TAC, ¶¶179-187 (trade secrets

21   claim), with id. ¶ 195 (not incorporating ¶¶ 179-187 into trademark claim).6

22         Second, Defendants argue that the trademark allegations are preempted

23   because they “describe additional activity” contemporaneous with Defendants’
            6
              Notably, Defendants’ brief engages in sleight of hand by editing its quote of
24   paragraph 195 so that it is not apparent that the trade secrets claim (set forth at
     paragraphs 179-187) was not incorporated into the trademark claim. Compare Mtn
25   at 17:19-22 (arguing that the fifth Claim For Relief “incorporates herein by
     reference the allegations of paragraphs 1 through 157, and 159 through 166, 160
26   through 178…inclusive, above.”), with TAC ¶ 195 (“incorporates herein by
     reference the allegations of paragraphs 1 through 157, 159 through 166, 160
27   through 178, and 189 through 194, inclusive, above.”) (emphasis added).
     Defendants’ edits leave out the juxtaposition between the claims that are and that
28   are not incorporated by reference.
                                                               EPICOR’S OPPOSITION TO MOTION
                                                                        TO STRIKE AND DISMISS
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 1   CUTSA violations. Mtn. at 18:1-4. Defendants’ admission that the allegations go
 2   to additional activity dooms their supersession argument. Claims are not preempted
 3   where, as here, they allege facts that go “beyond trade secret misappropriation.”
 4   See Titan Global, 2012 WL 6019285, at *10; see also Cole Asia Bus. Ctr., 2013
 5   WL 3070913, at *6. Indeed, CUTSA “does not displace noncontract claims that,
 6   although related to a trade secret misappropriation, are independent and based on
 7   facts distinct” from the misappropriation claim. Angelica Textile Services, 220 Cal.
 8   App. 4th at 506.
 9         Defendants erroneously conflate Epicor’s allegations of “additional activity”
10   beyond the misappropriation of trade secrets with legal theories posing “additional
11   elements” that are superseded under Mattel v. MGA Entertainment, Inc.. Mtn. at
12   18:1-4. Mattel rejected the rule that a claim based on misappropriation of trade
13   secrets that required proof of a different element was not preempted. 782
14   F.Supp.2d at 986. In doing so, Mattel merely recognized that a claim that is
15   factually based on the misappropriation of a trade secret is not saved from
16   preemption simply because it is based on a theory of relief whose elements differ
17   from a CUTSA claim. For example, in Mattel, a breach of fiduciary duty claim
18   based on the misappropriation of trade secrets would not be saved merely because
19   the claim required additional elements. See, e.g., Mattel, 782 F. Supp. 2d at 986
20   (“It's no longer the case in California that a claim for breach of fiduciary or breach
21   of duty of loyalty based upon the misappropriation of trade secrets would survive
22   even though both claims require proof of ‘additional elements’ like a relationship of
23   trust or confidence.”). As Sunpower makes clear, the focus is on the nature of the
24   factual allegations, and not the elements of the legal theory they support. 2012 WL
25   6160472, at *12 (“[T]he nucleus of fact test does not focus on whether a non-
26   CUTSA claim requires the pleading of different elements than the CUTSA claim,
27   but rather on whether ‘there is [a] material distinction between the wrongdoing
28   alleged in a [C]UTSA claim and that alleged in [the non-CUTSA] claim....’”). Here,
                                                               EPICOR’S OPPOSITION TO MOTION
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 1   the gravamen of the trademark infringement claim is the Defendants’ wrongful use
 2   of Epicor marks: this is factually distinct conduct from the trade secrets claim, and
 3   is not superseded.
 4                 4.     CUTSA Does Not Supersede The Seventh Claim For False
                          Advertising.
 5
           Epicor’s Seventh Claim for Relief alleges False Advertising in violation of
 6
     California Business & Professions Code section 17500. TAC, ¶¶ 211-215. It is
 7
     based on claims that Alternative’s advertising and marketing misleads customers
 8
     into believing that Alternative is an Epicor authorized partner or otherwise endorsed
 9
     by or associated with Epicor. See id., ¶¶ 118-128 (section entitled “Alternative’s
10
     Unauthorized Use of Epicor’ Trademarks and False Advertising”). These
11
     allegations are not based on the existence of a trade secret, are not a restatement of
12
     the trade secrets claim and are factually distinct from the trade secrets claim’s
13
     nucleus of allegations that Defendants misappropriated customer lists, price lists,
14
     and business methodologies and strategies. Cf. id., ¶¶ 54-62, 184; see also
15
     SunPower, 2012 WL 6160472, *3; MedioStream, 869 F. Supp. 2d at 1115; K.C.
16
     Multimedia, 171 Cal. App. 4th at 958. Accordingly, the false advertising claim is
17
     not superseded by CUTSA. See, e.g., Kovesdy, 2010 WL 3619826, at *3 (claims
18
     based on misleading clients into wrongfully believing defendant was affiliated with
19
     an entity not preempted by CUTSA).
20
           Defendants simply repeat the same arguments they made in connection with
21
     the trademark claim: that the claim incorporates the same allegations as the trade
22
     secrets claim, and that additional wrongful activity is superseded by CUTSA. Mtn.
23
     at 18:9-19:4. These arguments fail for the same reasons. See, sections IV.B and
24
     IV.C.1-3, supra.
25
                   5.     CUTSA Does Not Supersede The Tenth Claim for Trespass
26                        to Chattels.
27
           Epicor’s Tenth Claim for Relief states a claim for Trespass to Chattels. TAC,
28
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 1   ¶¶ 245-254. It is based upon Alternative’s unauthorized access to Epicor’s support
 2   website known as Epicweb, which, inter alia, interfered with Epicor’s use and
 3   possession that website and damaged the functionality of Epicor’s computer
 4   systems. TAC, ¶¶246-248, 252. These allegations are not based on the existence of
 5   any trade secret. Defendants’ claim that “the specific allegation added to the TAC
 6   by this claim all pertain to…Alternative’s alleged activities that form the basis for
 7   the misappropriation claim,” (Mtn. at 19:15-17),7 is untrue: accessing the support
 8   website and interfering with software and computer systems are factually distinct
 9   from the trade secrets claim’s nucleus of allegations that Defendants
10   misappropriated customer lists, price lists, and business methodologies and
11   strategies. Cf. id., ¶¶ 54-62, 184. Defendants further overlook that the Tenth Claim
12   does not incorporate the trade secrets claim itself. Compare id. ¶¶179-187 (trade
13   secrets claim), with ¶ 245 (not incorporating ¶¶ 179-187 into trespass to chattels
14   claim). The trespass to chattels claim is not a re-characterization or restatement of
15   the trade secret claim. Accordingly, the trespass to chattel claim is not superseded
16   by CUTSA. See e.g., SunPower, 2012 WL 6160472, *3; MedioStream, 869 F.
17   Supp. 2d at 1115.
18         Defendants follow the same script as with prior causes of action, arguing that
19   the claim incorporates by reference the same allegations as the trade secrets claim,
20   and that CUTSA supersedes claims based on additional activity. Mtn. at 19:5-20:2.
21   As set forth above, these arguments fail. See, sections IV.B. and IV.C.1-4, supra.
22                 6.    CUTSA Does Not Supersede The Twelfth Claim for
                         Unlawful and Fraudulent Business Practices in Violation of
23                       the UCL.
24         The Twelfth Claim for Relief alleges violations of California’s Unfair
25   Competition Law, and is based on numerous statutory violations and numerous
26   fraudulent and deceptive acts specified in that claim. TAC, ¶¶ 262-271.
27         7
             Contrary to Defendants’ representation, the Tenth Claim for Relief did not
     add any new allegations to the TAC. See Dkt. No. 184-3 (redline of the TAC
28   against SAC).
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 1   Defendants’ contention that the UCL claim places at issue the “very same ‘unlawful
 2   and/or deceptive practices that form the basis of its CUTSA claim,” (Mtn. at 20:27-
 3   21:1),8 is wrong:
 4              the UCL claim does not incorporate the trade secrets claim into it,
 5                compare TAC, ¶¶ 179-187 (trade secrets claim), with id., ¶ 272 (not
 6                incorporating ¶¶ 179-187 into UCL claim);
 7              the claim under the unlawful prong of the UCL does not plead
 8                Defendants’ violation of CUTSA as a predicate act, see TAC, ¶ 264
 9                ¶(a)-(f)9; and,
10              the claim under the fraud prong of the UCL does not place at issue
11                Defendants’ misappropriation of customer lists, pricing information or
12                business methodologies, cf. TAC, ¶¶ 264(g)-(m).
13         Further, the UCL Claim is also based on conduct and predicate acts that
14   Defendants do not contend are preempted by CUTSA, including violations of: (i)
15   trademark statutes, see id. at ¶ 264(b); (ii) the Lanham Act, see id. at ¶ 264(c); (iii)
16   the Computer Fraud and Abuse Act, see id. at ¶ 264(d); and (iv) California Penal
17   Code section 502(c), see id. at ¶ 264(e). The UCL claim is not a re-characterization
18   or restatement of the trade secret claim. See, e.g., SunPower, 2012 WL 6160472,
19   *3. Accordingly, the UCL claim is not superseded by CUTSA. See, e.g., Titan
20   Global, 2012 WL 6019285, at *10 (interference with contract and UCL claims not
21
     8
       Defendants cite paragraphs 265 and 266 of the TAC in support of this proposition.
22   Mtn. at 21:1. These paragraphs do not support Defendants’ characterization. See
     TAC ¶ 265 (alleging “[t]he acts and practices alleged herein constitute unlawful,
23   unfair and/or deceptive business practices as set forth in Business and Professions
     Code §§ 17200, et seq.”); see also, id. ¶ 266 (alleging “Alternative continues to
24   engage in such unlawful and/or deceptive business practices as identified herein to
     the present day, and there is a substantial risk that the wrongful acts will continue in
25   the future, thus warranting (and necessitating) injunctive relief.”).
26         9
             The unlawful prong alleges unlawful practices in the nature of (a)
     interference with contract; (b) conduct contrary to the trademark statutes; (c)
27   conduct contrary to the false advertising statutes; (d) conduct contrary to the
     Federal Computer Fraud and Abuse Act; (e) conduct contrary to Cal. Penal Code
28   Section 502(c); and (f) trespass to chattels. See, TAC ¶ 264 (a)-(f).
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 1   preempted by CUTSA where the allegations of those claims “go beyond”
 2   misappropriation of customer lists that was basis of trade secrets claim); Phoenix
 3   Techs, 2009 WL 4723400, at *5 (interference with contract and UCL claims
 4   construed as not based on same facts as trade secrets claim and not preempted); see
 5   also MedioStream, 869 F. Supp. 2d at 1115; K.C. Multimedia, 171 Cal. App. 4th at
 6   958.
 7          Defendants’ attacks on the UCL claim largely repeat their incorporation by
 8   reference and “additional activity” attacks on the prior causes of action and fail for
 9   the same reasons. See sections IV.B. and IV.C.1-5., supra.10 And claims for
10   violations of the UCL based on interference with contract, see TAC ¶ 264(a);
11   California’s false advertising law, see id., ¶ 264(c); and, trespass to chattel, see id. ¶
12   264(f), necessarily survive preemption to the same extent as their analog claims.
13                 7.     CUTSA Does Not Supersede The Thirteenth Claim For
                          Relief for Unjust Enrichment/Restitution.
14
            Epicor’s Thirteenth Claim for Unjust Enrichment/Restitution is not a
15
     restatement of the trade secrets claim. The Unjust Enrichment claim places at issue
16
     all of Defendants’ wrongdoing, except for Defendants’ misappropriation of trade
17
     secrets. The Unjust Enrichment claim does this by incorporating all prior claims
18
     into it, except for the trade secret claim. Compare TAC, ¶¶ 179-187 (trade secrets
19
     claim), with id., ¶ 272 (not incorporating ¶¶ 179-187 into UCL claim). Further, the
20
     Unjust Enrichment Claim’s specific allegations place at issue Alternative’s parasitic
21
     business model, which seeks to utilize Epicor’s software, websites and other
22
     investments without compensating Epicor. These specific allegations do not
23
     include allegations that Defendants misappropriated Epicor’s customer lists, pricing
24
     information or business methodologies, (see TAC ¶ 273-277), which are the sole
25
     basis of the trade secrets claim. Cf. id. ¶¶ 54-62, 184. Likewise, Defendants
26
            10
              Defendants also imply the claims should be preempted due to “the specific
27   allegations added to the TAC by this Twelfth claim.” See Mtn. at 20:13-14.
     However, the TAC did not add any new factual allegations to the body of the UCL
28   claim. See Dkt. No. 184-3 (redline of the TAC against SAC).
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 1   acknowledgment that the Unjust Enrichment Claim is based on the usurpation of
 2   software and websites, Mtn. at 21:11-16, rebuts Defendants’ assertion that the
 3   Unjust Enrichment claim is a restatement of the trade secrets claim because the
 4   trade secrets claim does not place at issue such software or websites. See TAC ¶¶
 5   179-187.
 6         Defendants’ concessions that the claim places at issue “additional activity”
 7   contemporaneous with Defendants alleged misappropriation of trade secrets, (Mtn.
 8   at 21:1-5), does not support preemption; to the contrary, it defeats it. See Titan
 9   Global, 2012 WL 6019285, at *10 (claims are not preempted if they allege facts
10   that go “beyond trade secret misappropriation”); see also, Cole Asia Bus. Ctr., 2013
11   WL 3070913, *6 (finding claims not preempted by CUTSA; “Counterclaimants do
12   make allegations against all Counterdefendants going beyond their trade secret
13   claims”). Likewise, Defendants’ acknowledgment that the factual allegations
14   supporting the claim are “not identical” to the misappropriation claim, (Mtn. at
15   22:13-17), is fatal to the suppression argument, even under the authorities advanced
16   by Defendants. See, e.g., Digital Envoy, Inc. v. Google, Inc., 370 F. Supp. 2d 1025,
17   1035 (N.D. Cal. 2005) (discussing preempted claims that were “based on the
18   identical nucleus of facts as those alleged in the claim for misappropriation”).
19         Defendants’ attacks on the unjust enrichment claim largely rehash their
20   incorrect “incorporation by reference” and “additional elements” arguments. Mtn.
21   at 21:17-31:17. These arguments fail for the reasons discussed above. See
22   Banks.com, 2010 WL 727973, at *3; Sunpower, 2012 WL 6160472, at *12. Further,
23   to the extent that the claim incorporates prior factual allegations and prior causes of
24   action which Defendants either do not contend are preempted or where Defendants
25   argument fails, the unjust enrichment claim cannot be preempted.
26            D.    DEFENDANTS’ AUTHORITIES DICTATE AGAINST
27                  SUPERSESSION
28         Defendants argue at length that five cases require dismissal of the claims
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 1   because the “allegations at the root of each [Challenged Claim] are the same
 2   allegations of fact that are at the nucleus of Epicor’s CUTSA claim.” Mtn. at 12:5-
 3   8, citing Mattel, 782 F. Supp. 2d 911; SunPower, 2012 WL 6160472; Heller v.
 4   Cepia, LLC, No. C 11-01146 JSW, 2013 WL 13572 (N.D. Cal. Jan. 4, 2012);
 5   Robert Half, 2014 WL 727405; and K.C. Multimedia, 171 Cal. App. 4th 939; see
 6   also, generally, Mtn. at 12-14. Defendants’ reliance on these cases is misplaced
 7   because, as explained above, the Challenged Claims are not rooted in the
 8   misappropriation of the customer lists, price lists and business methodologies,
 9   which forms the nucleus or gravamen of the trade secrets claim. In fact, since the
10   Challenged Claims are not based on the same factual nucleus, these cases compel
11   the conclusion that the Challenged Claims are not superseded.
12            E.    DEFENDANTS’ ADDITIONAL ARGUMENTS SHOULD BE
13                  REJECTED
14         Defendants advance several red-herrings. First, Defendants argue that Epicor
15   cannot avoid supersession by arguing that its Challenged Claims are supported by
16   additional facts or brought on another theory of liability. Mtn. at 12-15. Not so.
17   CUTSA does not preempt all theories of liability in any case where a Defendant is
18   alleged to have misappropriated a trade secret. See, e.g., Cellular Accessories,
19   2014 WL 4627090, at *6 (“[E]ach of these tort claims is preempted . . . to the extent
20   that it relies on the nucleus of facts of the trade secrets claim. However, because
21   each is also based on some alternative set of facts as well, each claim survives
22   preemption in part.” (emphasis added)).
23         Second, Defendants’ argue that CUTSA precludes claims asserting other
24   theories of liability based on additional facts. See Mtn. at 12-15. Defendants are
25   wrong. In fact, Defendants get the law exactly backwards: CUTSA precludes
26   claims that are restatements of a trade secret claim. See SunPower, 2012 WL
27   6160472, at *3. Additional facts are not preempted. See Titan Global, 2012 WL
28   6019285, at *10; Phoenix Techs, 2009 WL 4723400, at *5.
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 1         Finally, the rationale that underlies many of the CUTSA preemption cases
 2   cited by Defendants, that a plaintiff should not be able to circumvent a deficient
 3   trade secrets claim simply by changing legal theories with different elements, is not
 4   applicable here. See, e.g., Robert Half, 2014 WL 7272405, at *8 (“common law
 5   tort claims are displaced by the CUTSA where they ‘do not genuinely allege
 6   ‘alternative legal theories’ but are a transparent attempt to evade the strictures of
 7   CUTSA by restating a trade secrets claim as something else’”; breach of fiduciary
 8   duty claim not preempted since it was not a “transparent attempt to evade . . .
 9   CUTSA”). First, Defendants do not and cannot contest the viability of the trade
10   secrets claim or, apart from the preemption issue, the viability of the Challenged
11   Claims. Second, as explained above, the Challenged Claims are based on different
12   operative facts and are not mere attempts to re-label a trade secrets claim as
13   something else.11
14              F.   DEFENDANTS’ AUTHORITIES DO NOT SUPPORT
15                   DISMISSING A CLAIM WITH PREJUDICE
16         Defendants argue that any dismissal should be with prejudice. But
17   Defendants’ own authorities reflect that a plaintiff should be given leave to amend
18   to plead a basis that is independent of a trade secrets claim. See, e.g., SunPower,
19   2012 WL 6160472, at *16. Sound policy dictates against dismissing claims based
20   on pleading technicalities, let alone on the type of hyper-technicality that
21   Defendants advocate here. See Foman, 371 U.S. at 181-82. Even if a taint exists, it
22   can easily be corrected by way of amendment. Accordingly, should the Court
23   believe that any of the Challenged Claims to be superseded, Epicor requests leave
24   to amend.
25
           11
             Defendants also argue that Epicor should not be heard to argue that its
26   claims assert the misappropriation of non trade secret information. Mtn. at 10. The
     law on this point is a “somewhat unsettled area of California law.” Mediostream,
27   869 F. Supp. 2d at 1116. In any event, as discussed above, the gravamen of the
     Challenged Claims are not based on such assertions. A scattershot of references to
28   confidential information or the like does not alter the gravamen of those claims.
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 1    V.    CONCLUSION
 2         For each of the above-stated reasons, Plaintiff Epicor Software Corporation
 3   respectfully requests that Defendants’ motion be denied in its entirety.
 4
     Dated: March 16, 2015
 5                                             JONES DAY
 6
 7                                             By: /s/ Richard J. Grabowski
                                                  Richard J. Grabowski
 8
                                               Attorneys for Plaintiff
 9                                             Epicor Software Corporation
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 1                            CERTIFICATE OF SERVICE
 2
           I hereby certify that on March 16, 2015, I filed the foregoing document with
 3
     the Court through this district’s CM/ECF system. Pursuant to Local Rule 5-3.3, the
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